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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


TIMOTHY J. RYAN and
CHRISTINE A. RYAN,

               Plaintiffs,
                                                             Case No. 1:03-cv-439
v.
                                                             HON. DAVID W. McKEAGUE
ADELE MCGINN-LOOMIS and
MARY BENEDICT,

            Defendants.
______________________________________/

                         ORDER FOR SUPPLEMENTAL BRIEFING

        Defendants Adele McGinn-Loomis and Mary Benedict having moved the Court to dismiss

plaintiff’s complaint under Fed. R. Civ. P. 12(b)(1) and 12(b)(6); and

        The Court having conducted a hearing on the motions on November 24, 2003 and having

determined it appropriate to consider matters outside the pleadings; and

        The Court finding that limited discovery and supplemental briefing is appropriate before the

Court rules on the motions;

        Now therefore, and for the reasons more fully set forth on the record during the hearing,

        IT IS HEREBY ORDERED:

        1. That defendants’ motions to dismiss, which shall be treated pursuant to Fed. R. Civ. P.

12(c), as motions for summary judgment under Fed. R. Civ. P. 56, are TAKEN UNDER

ADVISEMENT;

        2. That plaintiffs are GRANTED LEAVE to amend their complaint, so as to state their

claims under 42 U.S.C. § 1983 more particularly, not later than December 8, 2003;
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       3. That the parties shall undertake discovery limited to the question whether and how

defendant McGinn-Loomis, in conspiracy with defendant Benedict, acted under color of state law,

and shall complete such limited discovery by February 1, 2004;

       4. That the parties shall file supplemental briefs in support of and opposition to the pending

motions to dismiss not later than March 1, 2004, and briefs in response to the supplemental briefs

not later than March 10, 2004; and

       5. That a second hearing on the supplemented motions to dismiss shall be conducted by the

undersigned in Lansing on April 5, 2004 at 10:00 a.m.



Dated: November 25, 2003                              /s/ David W. McKeague
                                                     DAVID W. McKEAGUE
                                                     UNTIED STATES DISTRICT COURT
